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                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION


UNITED STATES OF AMERICA                                §
                                                        §
                                                        §
v.                                                      §    CRIMINAL NO. H-03-230-02
                                                        §
FRANK NWABARDI                                          §


                                          ORDER DENYING MOTION FOR
                                           RELEASE PENDING APPEAL

            Defendant Frank Nwabardi was convicted on March 3, 2004 of three counts of

conspiracy and aiding and abetting interstate transportation of motor vehicles in violation of

18 U.S.C. §§ 371, 2312 & 2. On January 28, 2005, Defendant was sentenced to 42 months

custody with the Bureau of Prisons. 1 See Doc. # 466. On March 25, 2005, the Court issued

an Order to Surrender directing that Defendant voluntarily surrender to the Federal

Correctional Institution at Beaumont on April 18, 2005. On April 14, 2005, Defendant filed

a motion for release pending appeal [Doc. # 479] (“Defendant’s Motion”). In essence,

Defendant seeks a stay of the Order of Surrender pending appeal. Defendant contends that

there are issues of sufficiency of the evidence, which if successful, would result in reversal

of the convictions and avoidance by Defendant of the need to serve any sentence.




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            Sentencing was delayed because the Court granted Defendant’s request for
            appointment of new counsel for purposes of sentencing and to await the United States
            Supreme Court’s ruling in United States v. Booker.
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            The Court has considered Defendant’s Motion and is not persuaded that this case

presents grounds for the relief sought. Defendant has not satisfied his burden to identify

“substantial questions of law or fact” for appeal under the Bail Reform Act of 1984, 18

U.S.C. § 3143(b). There is no indication that the Government agrees to Defendant’s Motion,

and the Assistant United States Attorney who tried this case reported by telephone to the

Court’s case manager that he opposes the relief Defendant seeks in the Motion. Accordingly,

there is no legal basis for granting the relief Defendant seeks and he must surrender as

directed. It is therefore

            ORDERED that Defendant’s Motion for Release Pending Appeal [Doc. # 479] is

DENIED.

            SIGNED at Houston, Texas, this 18th day of April, 2005.




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